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      Attorney General of California                                                Jul 26, 2023
 2    VINCENT DICARLO                                                           CLERK, U.S. DISTRICT COURT

      Supervising Deputy Attorney General
                                                                              EASTERN DISTRICT OF CALIFORNIA


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      Attorneys for Plaintiff State of California
                                                    SEALED
 9
                              IN THE UNITED STATES DISTRICT COURT
10
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12    UNITED STATES OF AMERICA, et al., ex                  Case No. 2:20-CV-409 JAM AC
      rel., JOHN CHUNG,
13                                                          STATE OF CALIFORNIA’S NOTICE OF
                                                            ELECTION TO DECLINE
14                                  Plaintiffs,             INTERVENTION AND CONSENT TO
                                                            DISMISSAL
15                            v.

16    THE KROGER CO., d/b/a/ KROGER,                        FILED UNDER SEAL
      KROGER FRESH FARE, KROGER
17
      MARKETPLACE, et al.,
18
                                    Defendants.
19

20          Pursuant to the California False Claims Act, California Government Code section 12652,

21   subdivision (c)(6)(B), the State of California (“California”), by and through its counsel, Rob Bonta,

22   Attorney General, and Jennifer S. Gregory, Deputy Attorney General, respectfully notifies the

23   Court of its decision to decline intervention in the above-captioned action filed on behalf of

24   California by qui tam plaintiff John Chung (“relator”).

25          Pursuant to California Government Code section 12652, subsection (f)(1), California also

26   requests that, should this case continue, the parties serve copies of all pleadings, motions, and

27   appeals subsequently filed in this action upon California, and California further reserves the right

28   to order any deposition transcripts, to intervene in the action for good cause shown at a later date,

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                 STATE OF CALIFORNIA’S NOTICE OF ELECTION TO DECLINE INTERVENTION AND CONSENT TO DISMISSAL
                                                (2:20-CV-409 JAM AC)
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 1   and/or to seek the dismissal of the relator’s action or claims. California also requests that it be
 2   served with all notices of appeal.
 3          California has conferred with counsel for each of the named plaintiff States of Colorado,
 4   Delaware, Florida, Georgia, Illinois, Indiana, Louisiana, Maryland, Michigan, Montana, Nevada,
 5   New Mexico, North Carolina, Tennessee, Texas, and Washington, the Commonwealth of Virginia,
 6   and the District of Columbia (hereinafter, “States”). The States have asked to join California’s
 7   Notice of Election to Decline Intervention. To the extent the False Claims Act of any of the
 8   individual States provides for continued service of pleadings or other documents upon counsel for
 9   the States, those States request that they continue to receive such documents.
10          At the request of the State of Maryland, California conveys the following information: The
11   Maryland False Health Claims Act provides that “[i]f the State does not elect to intervene and
12   proceed with the action … before unsealing the complaint, the court shall dismiss that action.” Md.
13   Code Ann., Health Gen, § 2-604(a)(7). Accordingly, Maryland requests that all claims asserted on
14   its behalf be dismissed without prejudice.
15          Relatedly, California has conferred with counsel for each of the States and obtained
16   affirmative consent to dismissal of each State’s claims without prejudice as to said State should
17   relator seek to do so.
18          Finally, California requests that when the Court lifts the seal, the Court do so only as to the
19   qui tam complaint, this notice, the attached proposed order, and any similar notice and proposed
20   order filed by the United States.
21          A proposed Order accompanies this Notice.
22   Dated: July 26, 2023                           Respectfully submitted,
23                                                  ROB BONTA
24                                                  Attorney General of California

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                                                    ____________________________
26                                                  JENNIFER S. GREGORY
                                                    Deputy Attorney General
27
                                                    Attorneys for Plaintiff State of California
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                 STATE OF CALIFORNIA’S NOTICE OF ELECTION TO DECLINE INTERVENTION AND CONSENT TO DISMISSAL
                                                (2:20-CV-409 JAM AC)
